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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                          ROANOKE DIVISION
EARL THOMAS BROWN, JR.
     Plaintiff

v.                                      CIVIL ACTION NO.: 7:18-cv-00230

WILLIAM PAUL CHOWNING, JR.
      Defendant

                          DISMISSED AGREED ORDER - FINAL ORDER

       CAME THIS DAY the parties, by counsel, and represented to the Court that all

issues in this matter have been compromised and settled. Accordingly, it is

       ORDERED and DECREED that this case be and is hereby dismissed with

prejudice to the Plaintiff, and it is

          FURTHER ORDERED that the Clerk cause this matter to be stricken from the

docket of this Court and forward attested copies of this entered Order to all counsel of

record.

                                        ENTERED:      IP    I   'l. '1.   I   I~




                                                         Judge




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